
940 So.2d 1104 (2006)
STATE of Florida, Petitioner,
v.
Cory PETRUNY, Respondent.
No. SC04-1727.
Supreme Court of Florida.
October 5, 2006.
Charles J. Crist, Jr., Attorney General, Tallahassee, FL, and Claudine M. LaFrance, Assistant Attorney General, West Palm Beach, FL, for Petitioner.
Cory Petruny, pro se, Miami, FL, for Respondent.
PER CURIAM.
We have for review Petruny v. State, 884 So.2d 312 (Fla. 4th DCA 2004), in which the Fourth District Court of Appeal cited with approval its decision in Richardson v. State, 884 So.2d 950 (Fla. 4th DCA 2003), reh'g granted in part, 884 So.2d 950, 952 (Fla. 4th DCA 2004), quashed, 915 So.2d 86 (Fla.2005), and certified conflict with the Second District Court of Appeal's decision in McCall v. State, 862 So.2d 807 (Fla. 2d DCA 2003), review denied, 920 So.2d 627 (Fla.2005) (table), and approved by State v. Richardson, 915 So.2d 86, 89 (Fla.2005). At the time that the Fourth District Court of Appeal issued its decision in Petruny, both Richardson and McCall were pending review in this Court. We have jurisdiction. See art. V, § 3(b)(4), Fla. Const.
The petition for review is granted. On the authority of our decision in State v. Richardson, 915 So.2d 86 (Fla.2005), the decision under review is quashed, and this matter is remanded to the Fourth District Court of Appeal for reconsideration upon application of this Court's decision in Richardson.
It is so ordered.
LEWIS, C.J., and WELLS, ANSTEAD, PARIENTE, QUINCE, CANTERO, and BELL, JJ., concur.
